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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO


UNITED STATES OF AMERICA,                  :
                                           :
              Plaintiff,                   :       CASE NO: 2:23-CR-58
       vs.                                 :
                                           :       MAGISTRATE JUDGE
BENJAMIN DARRELL RUCKEL,                   :       KIMBERLY A. JOLSON
                                           :
              Defendant.                   :


             MOTION OF DEFENDANT, BENJAMIN DARRELL RUCKEL,
                     TO CONTINUE BOND CONFERENCE

       Now comes Defendant, Benjamin D. Ruckel, by and through undersigned Counsel, who
hereby requests a continuance of the Bond Conference set on April 11th, 2023, at 1:00 p.m. This
Motion to Continue is unopposed by the Government. The reasoning is set forth in the attached
Memorandum in Support.


                                                   Respectfully submitted,
                                                   /s/ Mark C. Collins
                                                   MARK C. COLLINS (0061207)
                                                   KAITLYN C. STEPHENS (0095589)
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                                                   Attorneys for Defendant, Benjamin D. Ruckel
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                              MEMORANDUM IN SUPPORT

       Defense Counsel will be in a definite trial before the Honorable Judge David C. Young in
the Franklin County Common Pleas Court. This trial will commence on April 10th, 2023, and
will take approximately two weeks. Therefore, Defense Counsel respectfully requests a
continuance of the Bond Conference. The Government is in agreement with this request.



                               CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2023, I electronically filed the foregoing Motion using
the CM/ECF System, which will send notification of such filing to the following: Brian J.
Martinez, Esq.



                                                   /s/ Mark C. Collins
                                                   MARK C. COLLINS (0061207)
